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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION


CONNIE A. BAILEY,

                    Plaintiff,

v.                                                     Case No: 6:21-cv-23-RBD-DCI

MRS BPO, LLC,

                    Defendant.


                                 ORDER OF DISMISSAL

        The parties have filed a stipulation of dismissal (Doc. 37). The notice is

effective without an order. See Fed. R. Civ. P. 41(a)(1)(A)(ii); Anago Franchising,

Inc. v. Shaz, LLC, 677 F.3d 1272, 1278 (11th Cir. 2012); see also Est. of West v. Smith,

No. 20-10071, 2021 WL 3699467, at *4 (11th Cir. Aug. 20, 2021).

        Accordingly, it is ORDERED that this case is hereby DISMISSED WITH

PREJUDICE. All pending motions are denied as moot and all deadlines and

hearings are terminated. The Clerk is directed to close the file.

        DONE AND ORDERED in Chambers in Orlando, Florida, on February 8,

2022.
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